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                                                 May10 , 2018


VIA MESSENGER

Attn : Sandy Nunes
Clerk of Court
U.S. District Court for the
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 941 02


Dear Ms. Nunes:

        We represent the Record ing Industry Association of America and its member companies
("RIAA member companies") . As noted in my telephone conversation with you today , we seek
to obtain a subpoena issued by the Clerk of this Court pursuant to 17 U.S.C. § 512(h), in order
to identify an alleged copyright infringer.

        Pursuant to 17 U.S.C. § 512(h) , a copyright owner or its agent may obtain a subpoena
("DMCA subpoena") from the Clerk of any United States District Court for the purpose of
seeking the identity of an alleged copyright infringer. Section 512(h)(4) provides that "the clerk
shall expeditiously issue and sign the proposed subpoena" upon presentation of three
documents in proper form : 1) a DMCA notice of copyright infringement, § 512(h)(2)(A) ; 2) a
proposed subpoena , § 512(h)(2)(B) ; and 3) a sworn declaration meeting the requirements of§
512(h)(2)(C) . I enclose those documents herewith .

          If you have any questions, please do not hesitate to call me at (415) 772-5784 .


                                                    Very truly you s,




                                                    Julia D. Greer

JDG :cyf

Attachments




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